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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 NICHOLAS A. GLADU,                        )
                                           )
               Plaintiff                   )
                                           )
        v.                                 )       2:15-cv-00384-JAW
                                           )
 CORRECT CARE SOLUTIONS,                   )
 et al.,                                   )
                                           )
               Defendants                  )


                RECOMMENDED DECISION ON DEFENDANTS’
             MOTIONS FOR SUMMARY JUDGMENT AND ORDER ON
                 PLAINTIFF’S RECORD-RELATED MOTIONS

        In this action, Plaintiff Nicholas Gladu alleges that Defendants have acted with

 deliberate indifference to his serious medical needs, discriminated against him on the basis

 of disability, retaliated against him for engaging in conduct protected under the First

 Amendment, and breached duties owed to him under Maine law.

        The matter is before the Court on Defendants’ motions for summary judgment.

 (Motion for Summary Judgment of Defendants Maine Department of Corrections and

 Susan Carr, ECF No. 261; Motion for Summary Judgment of Defendants Correct Care

 Solutions, Robert Clinton, M.D., George Stockwell, D.O., and Wendy Riebe, ECF No.

 266.) In addition, the matter is before the Court on Plaintiff’s Motion for the Court to Take

 Judicial Notice (ECF No. 369); Motion to Strike the Supplemental Declaration of Robert

 Clinton, M.D. (ECF No. 376); Motion for Consideration of New Evidence (ECF No. 462);
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 Motion to Add New Evidence to the Record (ECF No. 463); and Motion for Judicial Notice

 (ECF No. 471).

        Following a review of the record and after consideration of the parties’ arguments,

 I grant Plaintiff’s motions requesting the consideration of certain evidence, deny Plaintiff’s

 motions for judicial notice and motion to strike, and recommend the Court grant

 Defendants’ motions for summary judgment.

                        PLAINTIFF’S RECORD-RELATED MOTIONS

        1.     Plaintiff’s Motion to Strike the Supplemental Declaration of Dr. Clinton

        In response to the declaration Plaintiff filed in connection with the summary

 judgment motion, Defendant Correct Care Solutions (CCS) filed a supplemental

 declaration of Dr. Clinton. (ECF No. 357-1.) Plaintiff, challenging certain assertions in the

 declaration, asks the Court to strike the declaration. The record reflects that regardless of

 the merit of the assertions made in the declaration, CCS reasonably sought to address

 through the declaration certain issues raised by Plaintiff in his response to the summary

 judgment filing. Furthermore, through his filings, Plaintiff has addressed his objections to

 Dr. Clinton’s assertions. The information included in the declaration and in Plaintiff’s

 response is relevant to the summary judgment issues. Plaintiff’s motion to strike, therefore,

 is denied. The information included in the declaration and in Plaintiff’s response will be

 considered as part of the summary judgment record.

        2.     Plaintiff’s Motions for the Court to Take Judicial Notice

        Plaintiff moves the Court, as part of the summary judgment analysis, to take notice

 of two medical treatises he cites in support of his claims. (ECF No. 369.) In addition,

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 Plaintiff requests that the Court take notice that certain of Plaintiff’s symptoms are

 symptoms that persons with Cushing Syndrome experience. (ECF No. 471.)

        Federal Rule of Evidence 201(b) provides that the Court “may judicially notice a

 fact that is not subject to reasonable dispute because it: (1) is generally known or within

 the trial court’s territorial jurisdiction; or (2) can be accurately and readily determined from

 sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).

        Plaintiff has not identified any specific facts of which he asks the Court to take

 judicial notice. Instead, Plaintiff evidently asks the Court to take judicial notice of the

 entire treatises. Plaintiff has not established that either treatise, or any of the content of the

 treatises, constitutes a fact for which the Court should take judicial notice in accordance

 with Evidence Rule 201(b).

        In addition, Plaintiff asks the Court to take notice that Plaintiff suffers from certain

 symptoms and that the symptoms are experienced by a person with Cushing Syndrome. In

 support of his request, Plaintiff asserts he relies upon information contained in a medical

 book entitled Current Medical Diagnosis and Treatment (2015). On this record, at least

 some of the symptoms experienced by Plaintiff are subject to reasonable dispute. In

 addition, Plaintiff in essence asks the Court, by judicial notice, to determine that Plaintiff

 in fact suffers from a certain condition. Plaintiff’s diagnosis is the subject of medical

 opinion and is not a fact that is “not subject to reasonable dispute” as contemplated by

 Federal Rule of Evidence 201.




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        3.      Plaintiff’s Motions Requesting Consideration of Additional Evidence

        Plaintiff moves for the consideration of supplemental evidence.               Specifically,

 Plaintiff asks the Court to consider his sworn statement (a) that following his request in

 October 2017 to commence physical therapy, Defendants have not provided Plaintiff with

 physical therapy (ECF No. 462) and (b) that a laboratory report of blood work from

 November 2009 reflects that Plaintiff’s glucose and testosterone levels were high at the

 time. (ECF No. 463.) Although Plaintiff filed the evidence after the close of the summary

 judgment briefing schedule, the evidence will be considered as part of the summary

 judgment record.

                                 SUMMARY JUDGMENT FACTS

        1.      Summary Judgment Statement of the Correct Care Solutions
                Defendants

        The following facts introduced by the Correct Care Solutions Defendants (CCS

 Defendants),1 through their summary judgment statement of material facts, are supported

 by record citation. (ECF No. 267.) Plaintiff has filed a “statement of disputed factual

 issues,” through which statement Plaintiff denies or qualifies many of the statements

 offered by the CCS Defendants. (ECF No. 342.) Plaintiff, however, did not support his

 qualifications and denials with record citations.

        Dr. Clinton serves as the Regional Medical Director for CCS, which provides health

 care services to inmates within the State of Maine’s correctional facilities, including the



 1
  The CCS Defendants consist of Defendants Correct Care Solutions, Robert Clinton, George Stockwell,
 and Wendy Riebe.

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 Maine State Prison and the MCC. (ECF No. 267, ¶ 1.) As the Regional Medical Director,

 Dr. Clinton generally oversees the medical care provided to inmates and he also provides

 some direct care to patients, including Plaintiff. (Id. ¶ 2.) Dr. Clinton has been involved

 in Plaintiff’s health care treatment since 2013. (Id. ¶ 3.)

        Defendant George Stockwell, D.O., is a board certified osteopathic physician, who

 works as an urgent care physician at Mercy Express Care in Windham, Maine, a position

 he has held for nearly 8 years. (Id. ¶ 4.) Dr. Stockwell has also worked as a contract

 physician for CCS, and in that capacity has provided health care services to inmates at the

 MCC. (Id. ¶ 5.) In this role, Dr. Stockwell provided care and treatment to Plaintiff. (Id. ¶

 6.)

        Defendant Wendy Riebe is a licensed registered nurse, who serves as the Health

 Services Administrator (HSA) for CCS, a position she has held for three years. (Id. ¶ 7.)

 As the HSA, Ms. Riebe coordinates and monitors the implementation of health care

 services, including mental health, at the MCC, oversees health care staff at MCC, maintains

 administrative and fiscal functions of the MCC health care unit consistent with the CCS

 contract with the Maine Department of Corrections, including budgeting matters, and

 responds to patient complaints regarding the health care provided by CCS. (Id. ¶ 8.)

 Although Ms. Riebe does not provide direct patient care, she is responsible for the delivery

 of health care services to patients at the MCC. (Id. ¶ 9.)

        Plaintiff believes he is suffering from an undiagnosed but serious underlying

 medical condition that he asserts is causing him chronic and often severe physical pain in

 his hips and lower back and at times in various other joints. (Id. ¶ 10.) Plaintiff reports

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 sores on his legs and feet, dry and itchy skin on the soles of his feet and various spots of

 hair loss on his legs and lower back; he believes the conditions reflect a serious health

 condition. (Id. ¶ 11.)

        Plaintiff suffers from bilateral trochanteric bursitis which causes him hip pain, and

 for which Dr. Clinton, Dr. Stockwell and other members of the medical staff have provided

 treatment, including a trial of pain relievers, exercises, prolotherapy injections, topical

 cream, and special medical shoes; they have also encouraged Plaintiff to participate in yoga

 to alleviate the physical discomfort of which he complains. (Id. ¶ 12.)

        According to Defendants, although Plaintiff reports that he is in pain as the result of

 the conditions about which he complains, the reported condition does not affect his level

 of function. (Id. ¶ 13.) Plaintiff functions normally within the correctional environment,

 has a normal gait, walks without a limp and at a brisk rate of speed, participates in

 recreational activities including softball and yoga, is able to move about the examination

 room easily, and presents no objective evidence that he is physically limited in any way.

 (Id. ¶ 14.) Dr. Clinton asserts that serious musculoskeletal or rheumatic medical conditions

 involve signs and symptoms that correlate with a patient’s function. (Id. ¶ 15.)

        CCS provides a multidisciplinary approach to Plaintiff’s treatment. The approach

 involves treatment by physicians, psychiatrists, nurse practitioners, behavioral health

 specialists, and mental health care providers. (Id. ¶ 16.) The treatment team meets on an

 as needed basis, including with representatives from the correctional staff, to discuss the

 treatment. (Id. ¶ 17.) In addition, the medical department has weekly provider calls, which

 include psychiatry, and Plaintiff is one of the patients about whom the department speaks

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 regularly in order to provide him with consistent and appropriate care. (Id. ¶ 18.)

 Occasionally, the team meets with Plaintiff to discuss the medical plan and to address his

 questions and concerns. (Id. ¶ 17.) The assessments of the multidisciplinary team support

 the plan of care the health care team is providing to Plaintiff. (Id. ¶ 19.)

        Dr. Clinton and Dr. Stockwell have explained to Plaintiff extensively the reasons

 for the treatment decisions. (Id. ¶ 20.) According to Dr. Clinton, throughout the course of

 Plaintiff’s treatment, there has been no clinical evidence of cancer, an autoimmune disease,

 or a serious underlying medical condition that would be responsible for Plaintiff’s

 subjective symptoms. Rather, his symptoms are consistent with trochanteric bursitis in his

 hips, folliculitis on his arms, dry and itchy feet, and occasionally athlete’s foot. (Id. ¶ 22.)

        Dr. Stockwell first saw Plaintiff on April 21, 2015. At that time, Plaintiff was

 considering injections to both greater trochanteric areas as a way to alleviate his pain,

 which was a therapy he had discussed with Dr. Clinton. (Id. ¶ 23.) Dr. Stockwell injected

 both hips with triamcinolone and lidocaine, which treatment provided Plaintiff with an

 immediate reduction in pain. Dr. Stockwell prescribed a 3-day course of ibuprofen to

 support that relief. (Id. ¶ 24.)

        On July 13, 2015, Plaintiff reported that he could not sleep because of pain, and he

 asked if he could be given an extra mattress. (Id. ¶ 28.) Pursuant to CCS protocol, a double

 mattress will be provided when a patient is in the second trimester of pregnancy or later,

 suffers from active skin ulcerations, suffers from acute congestive heart failure

 exacerbation or acute deep vein thrombosis. (Id. ¶ 26.) On occasion, a patient’s condition

 might warrant a short term prescription for a double mattress; for example, when a patient

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 is recovering from hip surgery. (Id. ¶ 27.) Although Plaintiff did not meet the criteria for

 a double mattress, Dr. Clinton discussed with the nurse practitioner that it might be

 medically necessary to prescribe one for him if the extra blanket and pillow previously

 prescribed were not effective in allowing Plaintiff to sleep. (Id. ¶ 29.)

          To assess Plaintiff’s ability to sleep, Dr. Clinton asked the Department of

 Corrections to perform a sleep log to document Plaintiff’s sleeping pattern. (Id. ¶ 30.) On

 July 25, 2015, Dr. Clinton met with the unit manager, case manager, and Plaintiff to discuss

 the results of the sleep log which documented that Plaintiff was observed to be sleeping

 through the night on the nights assessed. (Id. ¶ 33.) Dr. Clinton explained that in order to

 provide Plaintiff with a double mattress, he needed to see a correlation between the

 observed level of function and Plaintiff’s reported inability to sleep. (Id. ¶ 34.) Because

 Dr. Clinton did not find a correlation, Dr. Clinton determined that a double mattress was

 not medically necessary. 2 (Id. ¶ 35.)

         Plaintiff was referred for an orthopedic consult to determine whether he was a

 candidate for iliotibial band surgery based on his complaints of hip pain. (Id. ¶ 31.) After

 examining Plaintiff in August 2015, Dr. Wayne Piers diagnosed Plaintiff with trochanteric

 bursitis, and concluded there was no need for surgery. He recommended a double mattress

 and an egg crate mattress, and physical therapy. He also suggested that an MRI might be

 warranted at some future date based on Plaintiff’s condition. (Id. ¶ 39.)



 2
   According to Dr. Clinton, while it may seem like a simple request, a double mattress presents certain
 correctional concerns. For example, two mattresses may be used to hide contraband. Therefore, the medical
 staff does not routinely prescribe a double mattress at the request of a patient unless it determines that
 double mattresses are medically necessary. (ECF No. 267, ¶ 36.)

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        Because Dr. Piers recommended a double mattress and an egg crate mattress, Dr.

 Clinton contacted him to discuss whether the recommended treatment was medically

 necessary. (Id. ¶ 40.) Dr. Piers explained to Dr. Clinton that a double mattress or egg crate

 was not medically necessary to treat Plaintiff’s condition, but that Plaintiff had raised the

 issue and requested the items. (Id. ¶ 41.)

        At the medical clinic on August 17, 2015, Dr. Clinton discussed with Plaintiff the

 conversation with Dr. Piers. (Id. ¶ 42.) Dr. Clinton informed Plaintiff that the medical

 staff would continue to monitor his function and make treatment decisions based on the

 relationship between their observations and his reports of symptoms. Dr. Clinton also

 reviewed with Plaintiff his sleep log, which reflected that he sleeps through the night. (Id.

 ¶ 43.) During the clinic visit, Dr. Clinton observed Plaintiff demonstrate excellent function

 when he got up from his chair and walked in the exam room. (Id. ¶ 44.) Dr. Clinton

 advised Plaintiff that he would be referred to physical therapy after he was released from

 one of the secure housing units. Plaintiff agreed with the plan. (Id. ¶ 45.)

        On September 29, 2015, Dr. Clinton met with Plaintiff and the nurse practitioner to

 discuss several issues. Plaintiff reported that he had noticed some improvement in his pain

 since starting the new medication and, although he believed that pain affected his ability to

 function, he reported that he was able to participate in indoor and outdoor recreation. (Id.

 ¶ 46.) Plaintiff asked that the providers inspect his mattress, which he felt was substandard.

 Dr. Clinton recommended that he contact the Department of Corrections to evaluate his

 mattress if he felt it was substandard. Plaintiff requested an MRI. Dr. Clinton advised

 Plaintiff that an MRI was not indicated as his function was normal. (Id. ¶ 48.) Dr. Clinton

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 ordered an x-ray of Plaintiff’s left hip, the results of which were normal. (Id. ¶ 49.)

 Plaintiff was offered physical therapy at the Maine State Prison in October 2015, which he

 refused.3 (Id. ¶ 50.) The decision to send Plaintiff to physical therapy at Maine State Prison

 rather than at a private facility is based on security concerns and is a decision that is not

 made by the medical department. (Id. ¶¶ 51 – 52.) Dr. Stockwell has provided Plaintiff

 with exercises to perform and Plaintiff also participates in yoga as a means to help treat his

 complaints of hip pain. (Id. ¶ 53.)

         At a clinic visit on or about October 20, 2015, Dr. Clinton explained to Plaintiff that

 his hip x-rays were normal. Plaintiff again requested an MRI of his right hip. (Id. ¶ 54.)

 Dr. Clinton advised Plaintiff that given his level of function, an MRI was not necessary.

 (Id. ¶ 55.) Dr. Clinton and Plaintiff also discussed the fact that Plaintiff was on a list for a

 new mattress, and Dr. Clinton recommended that he place an extra blanket under his hip

 for extra cushioning. (Id. ¶ 56.) At the next clinic visit on November 9, 2015, Plaintiff

 reported improvement in his condition. He reported that his medical issues were being

 addressed satisfactorily and appropriately. (Id. ¶ 57.)

         On or about January 11, 2016, Dr. Clinton ordered new medical shoes for Plaintiff

 because the shoes issued by the Department of Corrections had not relieved his pain. Dr.



 3
   The Department of Corrections has physical therapy on site at the Maine State Prison, which provides a
 more secure environment and reduces the need for multiple transports. (Id. ¶ 51.) In a motion the Court
 received on November 2, 2017, Plaintiff moved the Court to consider evidence that he requested physical
 therapy in October 2017 and it was not provided. While the Court grants herein Plaintiff’s request for
 consideration of the evidence, the evidence of the alleged denial of physical therapy in 2017 does not raise
 a genuine issue for trial on Plaintiff’s claims advanced in this action. That is, on this record, whether
 physically therapy was offered and rejected or not offered is not material to the pertinent summary judgment
 issues.

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 Clinton and Plaintiff discussed that medical shoes would be discontinued if/when his

 trochanteric pain resolved. (Id. ¶ 58.)

        On February 17, 2016, Plaintiff reported to Dr. Stockwell complaints of hip, groin,

 and low back pain. Dr. Stockwell examined Plaintiff, reviewed x-rays, and assessed

 Plaintiff with bilateral greater trochanteric bursitis or more likely bursosis, left groin pain

 that was likely a muscular strain, back pain, and a dissatisfaction with his medical care.

 (Id. ¶ 60.) Dr. Stockwell discussed with Plaintiff a trial of prolotherapy. After reviewing

 materials provided by Dr. Stockwell, Plaintiff decided to proceed with the therapy. Dr.

 Stockwell subsequently injected both greater trochanteric areas with a dextrose 50% and

 lidocaine mix. (Id. ¶¶ 62 – 63.)

        When he next met with Plaintiff on March 9, 2016, Dr. Stockwell spent nearly an

 hour with him discussing his medical condition and answering his questions about his

 complaints and treatment.       (Id. ¶ 68.)    Plaintiff declined to proceed with further

 prolotherapy unless he could have an extra mattress or pain medications as the injection

 had caused him too much pain. He complained of bruising on his hips and attributed his

 pain to the lack of a supportive mattress. He also complained of low back pain and

 requested a back brace. (Id. ¶ 69.) Plaintiff reiterated his request for an MRI because he

 believed that the medical department was missing something. He was concerned that he

 could have cancer and that the medical providers would not discover the source of his pain

 until it was too late to treat the condition. Dr. Stockwell explained that he did not see a

 medical necessity for an MRI. (Id. ¶ 70.) Dr. Stockwell ordered an HLA B-27 given



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 Plaintiff’s history of irritable bowel disease, because of the possibility that ankylosing

 spondylitis could be the source of his inflammatory bursitis and pain. (Id. ¶ 71.)

        At the April 14, 2016, multi-disciplinary team meeting, Plaintiff informed the CCS

 medical department and the Department of Corrections administrative staff that he did not

 trust that medical would pursue additional testing if he developed symptoms of a significant

 underlying medical condition. (Id. ¶ 72.) On May 18, 2016, Plaintiff told Dr. Clinton that

 his hip pain was satisfactorily controlled with the medicine, but that he could still have

 aggravating pain that prevented him from doing yoga exercises. (Id. ¶ 75.) Plaintiff asked

 about a topical cream advertised on television. Dr. Clinton told Plaintiff that he would

 prescribe it and advised Plaintiff of the need for consistent use. (Id. ¶ 76.) Dr. Clinton

 also informed Plaintiff a recent blood test confirmed that Plaintiff did not suffer from

 Lupus. (Id. ¶ 77.) Plaintiff reported that he felt well enough to play softball, but was

 concerned about being on the field due to side effects from his medications which were

 causing some balance issues when he needed to run. (Id. ¶ 78.)

        At a medical visit on June 29, 2016, Plaintiff and Dr. Stockwell discussed several

 of Plaintiff’s concerns. Plaintiff explained that he wanted to make sure the medical

 department did not missing something. (Id. ¶ 79.) Dr. Stockwell told Plaintiff that he had

 spoken to Dr. Piers, who had reviewed the x-ray films, both past and recent, of Plaintiff’s

 hip/pelvis and spine, and that Dr. Piers did not detect anything to suggest the presence of a

 progressive destructive condition and did not find evidence of osteonecrosis. (Id. ¶ 80.)

 Dr. Stockwell advised Plaintiff that at this time he did not feel that an MRI was medically

 necessary. (Id. ¶ 81.) After some discussion, Plaintiff agreed to proceed with prolotherapy

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 injections. When he was seen on July 13, 2016, Plaintiff decided to forego further

 prolotherapy because of the pain. Plaintiff advised Dr. Stockwell that he intended to pursue

 board and legal complaints to clarify and receive a definitive diagnosis. (Id. ¶ 89.)

        Dr. Stockwell last met with Plaintiff on August 12, 2016. At that time, Plaintiff

 reported a flare up of his hip pain. Dr. Stockwell provided him with a seven-day

 prescription of Tramadol for pain relief. (Id. ¶ 90.) Dr. Stockwell’s examination of

 Plaintiff revealed no neurologic deficits and upon rotation, the hip joint was normal.

        Plaintiff researches various physical conditions, which he discusses with his medical

 providers. (Id. ¶ 92.) In September 2016, Plaintiff told psychiatry that his “biggest fear”

 is having a terrible disease that is not diagnosed “until it’s too late.” The psychiatry

 consults document that Plaintiff’s “obsessive preoccupation with health” is not a new

 concern, but is a chronic concern. (Id. ¶ 93.)

        In her role as the Health Services Administrator, Defendant Riebe periodically

 reviews and analyzes health care records regarding the treatment of patients, and meets

 with patients to address any concerns and grievances they have regarding their health care.

 (Id. ¶ 114.) All grievances filed by inmates are handled through the Maine Department of

 Corrections’ (MDOC) grievance process and in compliance with MDOC policies and

 procedures. (Id. ¶ 115.) The Department of Corrections has a grievance policy (Policy

 29.1) that governs prisoner grievances arising from the conditions of confinement. The

 Department has a separate policy (Policy 29.2) to govern grievances regarding medical

 care. The grievance policies were in effect during Plaintiff’s incarceration. (Id. ¶ 116.)



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        The grievance policy allows a prisoner to file a formal grievance with the grievance

 review officer after attempting to resolve the grievance informally. If the prisoner is not

 satisfied with the grievance officer’s response, he may appeal to the chief administrative

 officer of the facility. If the prisoner is not satisfied with that response, the prisoner may

 appeal to the Commissioner of the Department of Corrections, whose decision is final. (Id.

 ¶ 117.) Under the policy, a grievance must be filed with the Grievance Review Officer

 within fifteen (15) days of the matter being grieved. (Id. ¶ 118.)

        The Department of Corrections has a record of a first level grievance filed by

 Plaintiff on July 1, 2016, regarding a nurse and the dispensation of sunscreen. (Id. ¶ 120.)

 As part of the grievance process, Defendant Riebe provides the initial response to

 complaints regarding health care services. (Id. ¶ 122.) When she receives a grievance, she

 meets with the patient to investigate the complaint and to determine if the issue might be

 resolved. If the matter is resolved, Defendant Riebe discards the grievance and simply

 notes in a log book that the matter has been resolved. If the matter is not resolved, the

 grievance proceeds to the Grievance Correctional Officer. (Id. ¶ 124.) The Department

 has no records of any written initial grievances (“First Level Review”) or written appeals

 to MCC’s chief administrative officer (“Second Level Review”) filed by Plaintiff, pursuant

 to Chapter 29.02 Client Grievance Rights: Prisoner Grievance Process, Medical and Mental

 Health Care, asserting a claim of retaliation against Defendant Riebe, involving Plaintiff’s

 July 1, 2016, grievance. (Id. ¶ 121.) As part of her role in the grievance process, Defendant

 Riebe discussed with Plaintiff his grievance regarding the dispensation of sunscreen.



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 During the discussion, Plaintiff admitted the grievance involved another inmate.

 Defendant Riebe cautioned him against filing false statements. (Id. ¶¶ 130, 136.)

        CCS receives no federal funding from the United States government, and is not a

 recipient of Medicare or Medicaid funds. (Id. ¶¶ 139-140.) CCS contracts with the United

 States government to provide health care services to certain federal prisons, and receives

 payment from the United States government pursuant to the contracts for services rendered.

 (Id. ¶ 141.) For its work in the State of Maine, however, CCS does not receive any money

 directly from the United States government because it does not provide any health care

 services to federal prisoners in Maine. (Id. ¶ 142.)

        2.     Summary Judgment Statement of the State Defendants

        The following facts are established by Defendants Department of Corrections and

 Susan Carr through their Local Rule 56 summary judgment statement of material facts.

 (ECF No. 262.)

        Plaintiff is incarcerated at the Maine Correctional Center (MCC), where he has

 complained frequently about hip and back pain, and made a number of requests for an

 additional mattress. (Id. ¶ 2.) The Department of Corrections has a policy that governs the

 property prisoners may keep in adult facilities, Policy 10.1, Prisoner Allowable Property.

 The policy includes a “Prisoner Allowable Property List” for Male Prisoners that specifies

 the personal property prisoners are allowed to possess. (Id. ¶ 3.) The Prisoner Allowable

 Property List provides that prisoners will be allowed one state-issued mattress. Policy 10.1

 also specifies that medical items provided by the facility’s health care department or

 purchased through special order or the facility’s canteen service are allowable property.

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 (Id. ¶ 4.) Unless possession of a specific medical item would create a risk to the security

 of the facility or the safety of prisoners or staff, the Department generally relies on the

 decisions and advice of its medical provider, CCS, as to whether provision of a particular

 item is medically necessary. (Id. ¶ 5.)

         MCC’s warden, Scott Landry, and Defendant Carr have discussed with Defendant

 Robert Clinton, M.D., CCS’s medical director, whether a second mattress is medically

 necessary for Plaintiff. Dr. Clinton has advised that a second mattress is not medically

 necessary. Based on this advice, Defendants denied Plaintiff’s requests for a second

 mattress. (Id. ¶ 8.) There is no current security or safety concern regarding Plaintiff’s

 possession of a second mattress. (Id. ¶ 7.)

         3.      Statements Offered by Plaintiff

         Plaintiff filed a document titled “Plaintiff’s Statement of Disputed Factual Issues.”

 (ECF No. 342.) In the document, Plaintiff admitted, denied, or qualified several of the

 statements offered by Defendants.4 Plaintiff, however, did not support his “statement” with

 record citations. In essence, Plaintiff denied the Defendants’ assertion that he does not

 suffer from a serious underlying condition because, in his view, Defendants have not

 conducted a thorough enough investigation to make an informed judgment. (Id. ¶ 4.)



 4
   Plaintiff filed an eleven-page summary judgment declaration, to which he attached over 100 pages of
 records. (ECF Nos. 343, 343-1 through 343-7.) The records attached to the declaration consist of Martin’s
 Point Healthcare records pertaining to care received by Plaintiff in 2012 (ECF No. 343-1); records related
 to the referral to Dr. Piers (ECF No. 343-2); thirty-four pages of grievances (ECF Nos. 343-3, 343-4, 343-
 5, and 343-6); and the 2011 Final Report to the Government Oversight Committee from the Office of
 Program Evaluation & Government Accountability of the Maine State Legislature, titled “Health Care
 Services in State Correctional Facilities – Weaknesses Exist in MDOC’s Monitoring of Contractor
 Compliance and Performance; New Administration is Undertaking Systemic Changes” (ECF No. 343-7).

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 Plaintiff maintains that in addition to trochanteric bursitis and ankylosing spondylitis, he

 suffers from eosinophilia and lymphadenopathy, which he describes as “unquestionably

 serious medical conditions and almost always indicative of a major health disorder.” (Id.

 ¶ 26.)

          In a declaration dated April 18, 2017, Plaintiff states in part “that [his] overall

 condition has the hallmarks of a possible malignant disease,” based on “the medical

 opinion of a community physician who reviewed [his] medical history to try and help

 determine if anything has been missed.” (ECF No. 366, ¶ 3.)             He asserts that his

 lymphadenopathy and eosinophilia have a “likely correlation to [his] current constellation

 of symptoms.” (Id. ¶ 4.)

          In an August 3, 2015, report, Dr. Piers wrote: “Nick appears to have trochanteric

 bursitis bilaterally that may be related to the mattresses at the Correctional Center as Nick

 describes.” (ECF No. 343-2, Ex. A at 3.) In his “discussion notes,” Dr. Piers also wrote:

          I’ve recommended to the staff with him today to use a double-mattress
          technique – they do that oftentimes for patients – and maybe even an egg
          crate. He’s not done well with 2 injections, on each side in the past, and I
          would not think about doing this today but would recommend PT to teach
          him how to perform core strengthening and stretch to the fascia lata and IT
          band. He may take oral AIs as provided by the infirmary.

          If he does poorly, and because of his history of steroid use for Crohn’s, we
          would obtain an MRI to r/o osteonecrosis as a factor here.

          I’ll see Nick back in a month to see how he responds to these simple
          conservative measures.

 Id.




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         Citing some of the medical records, Plaintiff asserts that certain lymph node

 symptoms support the inference that his current symptoms are the product of the gradual

 progression of a serious underlying medical condition, such as non-Hodgkin lymphoma,

 chronic eosinophilic leukemia, myeloproliferative disorders, autoimmune disease or

 systemic infection. (Gladu Declaration ¶¶ 6 – 10.) Based on his review of medical

 reference material such as Hematology in Clinical Practice (5th ed.) and Current Medical

 Diagnosis and Treatment (2015), Plaintiff believes that adequate care requires that CCS

 conduct differential diagnostic testing to rule out these diseases.5 (Id. ¶¶ 7 – 15.) Plaintiff

 contends that an MRI would also advance the differential diagnosis, and that an MRI is

 within the standard of care in accordance with Dr. Piers’s recommendation. (Gladu

 Declaration ¶ 16.) Plaintiff asserts that the CCS staff have little interest in his complaints

 regarding medical care, have treated him as a nuisance, and that the alleged deficiencies in

 his care are, in part, retaliatory. (Id. ¶¶ 28, 31.)

         More recently, Plaintiff appears to advance a different explanation for some of his

 symptoms and a different possible diagnosis. Based on blood work panels reported in 2009

 (ECF No. 463-1), and a new declaration in which he provides a revised list of his symptoms

 (ECF No. 463-2), Plaintiff asserts that he believes he is suffering from Cushing Disease.




 5
   Defendants contend Plaintiff is not qualified to offer testimony on the standard of care, and they assert
 through the supplemental declaration of Dr. Clinton that the symptoms are explained by Plaintiff’s history
 of asthma and allergies. (Reply ¶¶ 7 – 15.)

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                              SUMMARY JUDGMENT ANALYSIS

        1.     Summary Judgment Standard

        “The court shall grant summary judgment if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a matter

 of law.” Fed. R. Civ. P. 56(a). “After the moving party has presented evidence in support

 of its motion for summary judgment, ‘the burden shifts to the nonmoving party, with

 respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact

 reasonably could find in his favor.’” Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st

 Cir. 2013) (quoting Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

        A court reviews the factual record in the light most favorable to the non-moving

 party, resolving evidentiary conflicts and drawing reasonable inferences in the non-

 movant’s favor. Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If a court’s review of the

 record reveals evidence sufficient to support findings in favor of the non-moving party on

 one or more of his claims, a trial-worthy controversy exists and summary judgment must

 be denied as to any supported claim. Id. (“The district court’s role is limited to assessing

 whether there exists evidence such that a reasonable jury could return a verdict for the

 nonmoving party.” (internal quotation marks omitted)). Unsupported claims are properly

 dismissed. Celotex Corp. v. Catrett, 477 U.S. 317, 323 – 24 (1986) (“One of the principal

 purposes of the summary judgment rule is to isolate and dispose of factually unsupported

 claims or defenses.”).




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        2.     CCS Defendants’ Motion for Summary Judgment

               i.     Deliberate indifference

        The CCS Defendants argue they are entitled to summary judgment on Plaintiff’s

 deliberate indifference claim because the record does not establish that Plaintiff has an

 objectively serious condition, or that Defendants were deliberately indifferent to his

 medical needs. (CCS Defendants’ Motion for Summary Judgment at 2 – 6, ECF No. 266.)

        Defendants’ obligation to Plaintiff regarding medical services is governed by the

 Due Process Clause of the Fourteenth Amendment. Specifically, the Due Process Clause

 imposes on the states the “substantive obligation” not to treat prisoners in their care in a

 manner that reflects “deliberate indifference” toward “a substantial risk of serious harm to

 health,” Coscia v. Town of Pembroke, 659 F.3d 37, 39 (1st Cir. 2011), or “serious medical

 needs,” Feeney v. Corr. Med. Servs., 464 F.3d 158, 161 (1st Cir. 2006) (quoting Estelle v.

 Gamble, 429 U.S. 97, 105 – 106 (1976)). To be actionable, a deliberate indifference claim

 must satisfy both an objective and a subjective standard. Leavitt v. Corr. Med. Servs., 645

 F.3d 484, 497 (1st Cir. 2011).

        The objective standard evaluates the seriousness of the risk of harm to one’s health.

 For a medical condition to be objectively “serious,” there must be “a sufficiently substantial

 ‘risk of serious damage to [the inmate’s] future health.’” Farmer v. Brennan, 511 U.S.

 825, 843 (1994) (quoting Helling v. McKinney, 509 U.S. 25, 35 (1993)). A medical need

 is serious if it has been diagnosed by a physician as mandating treatment, or is so obvious

 that even a lay person would recognize a need for medical intervention. Leavitt, 645 F.3d



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 at 497; Gaudreault v. Mun. of Salem, 923 F.2d 203, 208 (1st Cir. 1990), cert. denied, 500

 U.S. 956 (1991).

        The subjective standard concerns the culpability of the defendant. There must be

 evidence that a particular defendant possessed a culpable state of mind amounting to

 “deliberate indifference to an inmate’s health or safety.” Farmer, 511 U.S. at 834 (internal

 quotation marks omitted).      Deliberate indifference is akin to criminal recklessness,

 “requiring actual knowledge of impending harm, easily preventable.” Feeney, 464 F.3d at

 162 (quoting Watson v. Caton, 984 F.2d 537, 540 (1st Cir. 1993)). The focus of the

 deliberate indifference analysis “is on what the jailers knew and what they did in response.”

 Burrell v. Hampshire Cnty., 307 F.3d 1, 8 (1st Cir. 2002).

        Deliberate indifference must be distinguished from negligence. As the First Circuit

 explained:

        A finding of deliberate indifference requires more than a showing of
        negligence. Estelle v. Gamble, 429 U.S. 97, 106 (1976) (holding that
        “[m]edical malpractice does not become a constitutional violation merely
        because the victim is a prisoner”); Sires v. Berman, 834 F.2d 9, 13 (1st Cir.
        1987). A plaintiff claiming an eighth amendment violation with respect to
        an inmate’s serious mental health or safety needs must allege “acts or
        omissions sufficiently harmful to evidence deliberate indifference.” Estelle,
        429 U.S. at 106; see also Cortes-Quinone v. Jimenez-Nettleship, 842 F.2d
        556, 558 (1st Cir.), cert. denied, 488 U.S. 823 (1988). Although this court
        has hesitated to find deliberate indifference to a serious need “[w]here the
        dispute concerns not the absence of help, but the choice of a certain course
        of treatment,” Sires, 834 F.2d at 13, deliberate indifference may be found
        where the attention received is “so clearly inadequate as to amount to a
        refusal to provide essential care.”

 Torraco v. Maloney, 923 F.2d 231, 234 (1st Cir. 1991).




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        To the extent Plaintiff asserts a § 1983 deliberate indifference claim against

 an individual defendant, Plaintiff must introduce evidence to support a finding that

 the individual, through his or her individual actions, violated Plaintiff’s constitutional

 rights. Ashcroft v. Iqbal, 556 U.S. 662, 676 – 77 (2009). The subjective component of the

 deliberate indifference claim requires a showing that a defendant had “actual knowledge

 of impending harm, easily preventable.” Feeney, 464 F.3d at 162.

        First, a review of the record fails to reveal an objectively serious, undiagnosed

 medical condition that poses a serious risk of harm to Plaintiff’s health. That is, despite

 Plaintiff’s concerns that he might suffer from a number of serious, potentially life-

 threatening diseases that have not been diagnosed, the record lacks any admissible evidence

 that would support such a finding.

        In addition, the treatment of Plaintiff’s complaints of pain and his diagnosed

 conditions does not constitute deliberate indifference, even if the conditions are objectively

 serious. Defendants’ decision, after many examinations of and consultations with Plaintiff,

 not to order an MRI is not actionable. Gamble, 429 U.S. at 107 (“A medical decision not

 to order an X-ray, or like measures, does not represent cruel and unusual punishment.”).

 Furthermore, Defendants’ decision not to authorize a double mattress does not constitute

 deliberate indifference. The fact that the parties disagree as to the necessary treatment or

 that another medical provider might have recommended a type of treatment cannot, without

 more, establish deliberate indifference. A review of the medical record reveals that

 Defendants have been attentive to Plaintiff’s many medical needs and have involved

 Plaintiff in the management of his medical needs.          A fact finder simply could not

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 reasonably conclude that the attention paid to Plaintiff’s medical condition was “so clearly

 inadequate as to amount to a refusal to provide essential care.” Torraco, 923 F.2d at 234.

 The CCS Defendants are thus entitled to summary judgment on Plaintiff’s deliberate

 indifference claim. 6

                 ii.     Disability discrimination

         The Court permitted Plaintiff to amend his complaint to assert claims under the

 Rehabilitation Act and Title III of the Americans with Disabilities Act, and analogous

 claims under the Maine Human Rights Act. (ECF Nos. 216 (Recommended Decision),

 236 (Order).) The CCS Defendants argue that their treatment of prisoners’ medical needs

 is not subject to scrutiny under the ADA or the Rehabilitation Act because prisons are not

 places of public accommodation for purposes of Title III and because CCS is not a recipient

 of federal funding for purposes of the Rehabilitation Act. (CCS Defendants’ Motion for

 Summary Judgment at 11 – 13, 16 – 17.) The CCS Defendants also contend they are

 entitled to summary judgment because Plaintiff is not disabled and because the record does

 not support a finding of discrimination.

         As explained in the Recommended Decision on Plaintiff’s motion to amend:

         Disability discrimination can consist of (a) the imposition of adverse
         consequences on a prisoner based on the prisoner’s disability, (b) a prison
         policy that is neutral in its terms, but impacts prisoners with a disability more
         significantly, or (c) the refusal by the prison administrators to grant the

 6
   Plaintiff’s federal claim under § 1983 and his state claim under the Maine Civil Rights Act are subject to
 the same merits-based analysis. Clifford v. MaineGeneral Med. Ctr., 2014 ME 60, 91 A.3d 567, 583 n.17.
 See also Jackson v. Town of Waldoboro, 751 F. Supp. 2d 263, 275 (D.Me. 2010) (“The MCRA, which
 provides a general remedy for violations of federal and state constitutional and statutory rights, is
 ‘patterned’ after Section 1983. As such, disposition of a claim under Section 1983 controls a claim brought
 under MCRA.”) (citation omitted).


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         prisoner a reasonable accommodation so that the prisoner can have
         meaningful access to a prison program or service.

 (Recommended Decision at 14, ECF No. 216, citing Kiman v. New Hampshire Dep’t of

 Corr., 451 F.3d 274, 284 (1st Cir. 2006)). Additionally, the Recommended Decision noted:

         Mere allegations of medical negligence, however, are not sufficient to state
         a disability discrimination claim. Kiman, 451 F.3d at 284 (citing Lesley v.
         Chie, 250 F.3d 47, 55 (1st Cir. 2001) (“a plaintiff's showing of medical
         unreasonableness [under the Rehabilitation Act] must be framed within some
         larger theory of disability discrimination”)). “When the decision being
         challenged is ‘simply a reasoned medical judgment with which the patient
         disagreed,’ it is more appropriate for the patient to turn to ‘state medical
         malpractice law, not [the ADA].’” Id. at 285 (quoting Lesley, 250 F.3d at
         58).

 (Id.)

         Plaintiff was thus aware of the requirements for a disability discrimination claim.

 Plaintiff, however, has not challenged the legal or factual bases upon which the CCS

 Defendants rely to support their request for summary judgment. Instead, Plaintiff has

 focused on his contention that the CCS Defendants failed to treat his conditions properly,

 which failure included the failure to perform necessary diagnostic procedures. (Plaintiff’s

 Brief in Response to Defendants’ Motions for Summary Judgment, ECF No. 341, passim.)

 Plaintiff’s arguments regarding the quality of the treatment do not support a disability

 discrimination claim. Accordingly, summary judgment in favor of the CCS Defendants is

 warranted. 7




 7
  Plaintiff also pursues a claim under the Maine Human Rights Act. Scott v. Androscoggin Cty. Jail, 2004
 ME 143, ¶¶ 20, 31, 866 A.2d 88, 94, 96–97 (disability claim under the MHRA analyzed according to ADA
 precedent).


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               iii.   Retaliation

        In his amended complaint, Plaintiff claimed that the refusal to issue Plaintiff a

 second mattress was based on Plaintiff’s grievance activity and Plaintiff’s filing of a

 complaint with the medical board. (ECF No. 157-1 ¶ 154.) Plaintiff also alleged that

 Defendant Riebe retaliated against him by writing him up for making false statements. (Id.

 ¶¶ 276 – 279.)

        To support a claim of first amendment retaliation, an inmate must establish (1) that

 the inmate engaged in conduct protected by the First Amendment; (2) that the defendant

 took adverse action against the inmate because of the protected conduct; and (3) that the

 adverse action was more than de minimis, i.e., was sufficient to deter an inmate of ordinary

 firmness from exercising his or her first amendment rights. Hannon v. Beard, 645 F.3d 45,

 48 (1st Cir. 2011); Davis v. Goord, 320 F.3d 346, 352 (2d Cir. 2003); Thaddeus-X v.

 Blatter, 175 F.3d 378, 398 (6th Cir. 1999). “[T]his objective test applies even where a

 particular plaintiff was not himself subjectively deterred; that is, where he continued to file

 grievances and lawsuits.” Gill v. Pidlypchak, 389 F.3d 379, 381 (2d Cir. 2004); see also

 Ayotte v. Barnhart, 973 F. Supp. 2d 70, 82 (D. Me. 2013).

        To the extent Plaintiff contends that the refusal to provide Plaintiff with a double

 mattress constitutes the requisite adverse action to support a retaliation claim, Plaintiff’s

 argument fails. The record lacks any evidence that would support the conclusion that the

 refusal to provide a double mattress was retaliatory in any way. Rather, the undisputed

 record establishes that Dr. Clinton considered whether the double mattress was necessary,

 discussed the issue with Dr. Piers, and rationally concluded that it was not medically

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 necessary. Dr. Clinton explained the decision to Plaintiff, and Drs. Clinton and Stockwell

 undertook a number of measures to treat Plaintiff’s condition.

         To the extent Plaintiff maintains that Defendant Riebe retaliated against him when

 she cited him because he filed a grievance concerning a matter that did not involve him,

 Plaintiff’s claim also fails. The filing of a prison grievance is considered protected conduct.

 Hannon, 645 F.3d at 48 (“The plaintiff, in filing his own grievances and legal actions,

 plainly engaged in protected activity.”); Hightower v. Vose, 95 F.3d 1146 (Table), No. 95-

 2296, 1996 WL 516123, *1, 1996 U.S. App. LEXIS 24041, at *3 – 4 (1st Cir. Sept. 12,

 1996). Nevertheless, to be protected under the First Amendment, a grievance must not be

 frivolous. Perez v. Fenoglio, 792 F.3d 768, 783 (7th Cir. 2015); Herron v. Harrison, 203

 F.3d 410, 415 (6th Cir. 2000); Lewis v. Guillot, 583 F. App’x 332, 333 (5th Cir. 2014).

         On this record, Plaintiff’s grievance regarding Defendant Riebe’s “write up” of

 Plaintiff can fairly be characterized as frivolous.                 More importantly, given that the

 disciplinary proceeding regarding the “write up” was dismissed without any sanction

 imposed, the alleged retaliatory conduct (i.e., the “write up”) did not result in a materially

 adverse consequence for Plaintiff. Defendant Riebe is thus entitled to summary judgment

 on the retaliation claim.8




 8
   Defendant Riebe also argues that Plaintiff’s retaliation claim against her is barred by Plaintiff’s failure to
 exhaust the claim administratively. (CCS Defendants’ Motion for Summary Judgment at 7 – 8.) As is
 reflected in the recitation of the background facts, the CCS Defendants have provided a record that
 substantiates the defense, providing an additional ground for summary judgment in favor of Defendant
 Riebe.


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                 iv.     Malpractice and breach of contract

         As discussed in the Recommended Decision on Plaintiff’s motion to amend,

 Plaintiff’s malpractice claim in this Court is limited to a claim against CCS; the individual

 defendants are not subject to the claim because Plaintiff did not proceed against them in

 his state court medical malpractice screening panel proceedings. (Recommended Decision

 at 10, ECF No. 216.) Plaintiff’s pleadings also include the claim that CCS is liable to him

 for breach of a contract of which he is a third party beneficiary. (Id. at 17 – 18.) The

 malpractice and breach of contract claims are considered together because Plaintiff cannot

 succeed on a third-party beneficiary claim for breach of a contract to provide medical

 services to prisoners if he cannot establish that Defendants breached the standard of care.9

         The CCS Defendants argue they are entitled to summary judgment because Plaintiff

 has not introduced evidence of breach of a CCS Defendants’ professional obligation,

 specifically expert evidence in support of the medical malpractice claim.                           (CCS

 Defendants’ Motion at 19 – 20.)

         To prove medical malpractice under Maine law, the plaintiff bears the burden
         to establish: (1) the appropriate level of medical care; (2) the defendant’s
         deviation from that recognized standard; and, (3) that the conduct in violation
         of that standard was the proximate cause of the plaintiff’s injury. Ouellette
         v. Mehalic, 534 A.2d 1331, 1332 (Me.1988); Dubois v. United States, 324
         F.Supp.2d 143, 148 (D.Me.2004); see also Jack H. Simmons, Donald N.
         Zillman & David D. Gregory, Maine Tort Law § 9.06 (2004 ed.) (Maine Tort

 9
   As noted in the prior Recommended Decision on Plaintiff’s motion to amend: “Third parties to contracts
 are strictly limited in their ability to maintain an action under contract law. A third party harmed by a
 breach may only sue for breach of contract if the contracting parties intended that the third party have an
 enforceable right.” Stull v. First Am. Title Ins. Co., 2000 ME 21, ¶ 17, 745 A.2d 975, 981. (Recommended
 Decision at 17.) This Recommended Decision should not be construed to recommend a finding that the
 contract between the Department and CCS expresses the intention to provide prisoners with enforceable
 contract rights. Because Plaintiff cannot demonstrate the appropriate standard of care, breach, and
 causation, the Court need not address the issue.

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        Law). Ordinarily, a “plaintiff can discharge this burden only through expert
        medical testimony....” Cox v. Dela Cruz, 406 A.2d 620, 622 (Me. 1979).
        There is an exception to the general rule requiring expert testimony, but it is
        only in cases “where the negligence and harmful results are sufficiently
        obvious as to lie within common knowledge....” Patten v. Milam, 480 A.2d
        774, 778 (Me.1984) (citation omitted); Maine Tort Law § 9.06.

 Demmons v. Tritch, 484 F. Supp. 2d 177, 179 – 80 (D. Me. 2007).

        Plaintiff’s claims, including his malpractice and breach of contract claim, regarding

 the quality of his medical treatment do not involve issues of standard of care, breach, and

 causation that are sufficiently obvious to fall within common knowledge. Because Plaintiff

 has offered no expert evidence to support his claim of medical negligence, Plaintiff’s

 negligence claim fails. Furthermore, because Plaintiff’s contract claim is based on the

 same alleged breach, Plaintiff’s contract claim also fails. CCS, therefore, is entitled to

 summary judgment on Plaintiff’s state law malpractice and breach of contract claims.

        3.     State Defendants’ Motion for Summary Judgment

        Plaintiff asserts claims of deliberate indifference and disability discrimination

 against the State Defendants (the Department of Corrections and Susan Carr). Plaintiff

 alleges that the Department and Defendant Carr approved, authorized, and ratified the

 conduct of the CCS Defendants in connection with Plaintiff’s medical care. Plaintiff also

 alleges that the Department’s limitation on the number of mattresses is a form of disability

 discrimination as applied to him.

        The record establishes that (a) the Department of Corrections’ policy regarding

 mattresses permits the issuance of a second mattress when medically necessary, (b) the

 Department relied on the medical advice of Dr. Clinton that Plaintiff’s condition does not


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 require the issuance of a second mattress, and (3) the State Defendants did not single out

 Plaintiff for disparate treatment on the basis of a disability. On this record, Plaintiff cannot

 prevail on a claim of deliberate indifference or disability discrimination against the State

 Defendants. The State Defendants, therefore, are entitled to summary judgment.

                                            CONCLUSION

        Based on the foregoing analysis, Plaintiff’s Motion for the Court to Take Judicial

 Notice (ECF No. 369), Plaintiff’s Motion to Strike the Supplemental Declaration of Robert

 Clinton, M.D. (ECF No. 376), and Plaintiff’s Motion for Judicial Notice (ECF No. 471)

 are denied; and Plaintiff’s Motion for Consideration of New Evidence (ECF No. 462) and

 Motion to Add New Evidence to the Record (ECF No. 463) are granted.10 In addition, I

 recommend the Court grant the CCS Defendants’ Motion for Summary Judgment (ECF

 No. 266), and grant the State Defendants’ Motion for Summary Judgment (ECF No. 261).



                                              NOTICE

               Any objection to the orders granting or denying motions shall be filed
        in accordance with Federal Rule of Civil Procedure 72.

               In addition, a party may file objections to those specified portions of
        a magistrate judge’s report or proposed findings or recommended decisions
        entered pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by
        the district court is sought, together with a supporting memorandum within
        fourteen (14) days of being served with a copy thereof. A responsive
        memorandum shall be filed within fourteen (14) days after the filing of the
        objection.



 10
   Because I have granted Plaintiff’s motions for the Court to consider additional evidence, Plaintiff’s
 objection (ECF No. 503) to Exhibit A to Defendants’ response to the motions is dismissed as moot.

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              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court’s order.


                                                   /s/ John C. Nivison
                                                   U.S. Magistrate Judge
 Dated this 18th day of December, 2017.




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